             Case 20-10036-CSS        Doc 30    Filed 02/07/20    Page 1 of 24




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

                                       )
In re                                  )            Chapter 11
                                       )
TOUGH MUDDER INCORPORATED; and         )            Case No. 20-10036 (CSS)
TOUGH MUDDER EVENT PRODUCTION          )            Case No. 20-10037 (CSS)
INCORPORATED,                          )
                                       )            [Requested] Objection Deadline: February 20,
                                       )            2020, at 4:00 p.m. (EST)
                                       )            [Requested] Hearing Date: February 25, 2020,
                                       )            at 1:00 p.m. (EST)
                                       )
                  Debtors.             )
______________________________________ )

       CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY OF AN ORDER (I)
   APPROVING ENTRY INTO AND PERFORMANCE UNDER ASSET PURCHASE
     AGREEMENT BY AND AMONG SPARTAN RACE, INC., AND DEBTORS’
   CHAPTER 11 TRUSTEE, (II) AUTHORIZING THE SALE OF SUBSTANTIALLY
   ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
    ENCUMBRANCES, AND INTERESTS, (III) APPROVING THE ASSUMPTION
         AND ASSIGNMENT OF CERTAIN CONTRACTS AND RELATED
       PROCEDURES, (IV) APPROVING THE BID PROTECTIONS, AND (V)
                      GRANTING RELATED RELIEF

              Derek C. Abbott, Esq., the chapter 11 trustee (the “Trustee”) for Tough Mudder

Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events” and, together

with Tough Mudder, the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter 11

Cases”) hereby moves (the “Motion”) for entry of an order, substantially in the form attached

hereto as Exhibit A (the “Sale Order”): (i) approving that certain Asset Purchase Agreement,

dated as of February 7, 2020, by and among Spartan Race, Inc., or its designee (the “Buyer,”

along with the Trustee on behalf of the Debtors’ estates, a “Party,” and, together with the

Trustee, the “Parties”) and the Trustee for the benefit of the Debtors’ estates (the “Sale
                Case 20-10036-CSS          Doc 30        Filed 02/07/20    Page 2 of 24




Agreement”);1 (ii) authorizing and approving the sale of the Acquired Assets to the Buyer, free

and clear of all Encumbrances (the “Sale”); (iii) approving the assumption and assignment of

certain contracts to the Buyer in connection with the Sale and related procedures; (iv) approving

certain Bid Protections (as defined below) for the Buyer; and (v) granting related relief. In

support of this Motion, the Trustee respectfully represents as follows:

                                   JURISDICTION AND VENUE

                1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated as of February 29, 2012. Venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                2.       Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware

(the “Local Rules”), the Trustee consents to the entry of a final order by the United States

Bankruptcy Court for the District of Delaware (the “Court”) in connection with this Motion to

the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments consistent with Article III of the United States Constitution.

                3.       The statutory predicates for the relief requested herein are sections 105(a),

363, and 365 of title 11 of the United States Code (the “Bankruptcy Code”), as supplemented by

rules   2002,    6004,     and   9014    of    the   Federal    Rules     of   Bankruptcy     Procedure

(the “Bankruptcy Rules”) and Local Rule 6004-1.




1
        A copy of the Sale Agreement is attached hereto as Exhibit B and incorporated herein by reference.
        Capitalized terms not defined in this Motion are used as defined in the Sale Agreement.


                                                     2
              Case 20-10036-CSS              Doc 30        Filed 02/07/20       Page 3 of 24




                                             BACKGROUND

       A.      Procedural Background

               4.       On January 7, 2020 (the “Petition Date”), Valley Builders LLC,

Trademarc Associates, Inc., and David Watkins Homes Inc. (collectively, the “Petitioning

Creditors”) filed involuntary petitions under chapter 11 of the Bankruptcy Code against Tough

Mudder and TM Events.

               5.       On January 21, 2020, the Court entered the Order Directing the

Appointment of a Chapter 11 Trustee [D.I. 18].2 The Court entered an order approving the

appointment of the Trustee on January 30, 2020 [D.I. 24] (the “Appointment Date”), and the

Trustee accepted his appointment on January 31, 2020 [D.I. 25]. Since that time, the Trustee has

managed the Debtors’ affairs pursuant to section 1106 of the Bankruptcy Code.

       B.      The Debtors’ Business3

               6.       Tough Mudder and TM Events are both Delaware corporations.

McLaughlin Dec. ¶ 10. Tough Mudder is the principal operating entity of the “TM Group,”

consisting of Tough Mudder, TM Events, Tough Mudder Events, Ltd., and certain of their

domestic and foreign subsidiaries (collectively, the “TM Group”). Id. Tough Mudder made all

major corporate decisions for the TM Group and owns all of the TM Group’s intellectual

property (the “Intellectual Property”). Id. TM Events is a subsidiary of Tough Mudder. Id.
2
       Docket item references in this Motion are to the docket maintained in the chapter 11 case of Tough
       Mudder, Inc., Case No. 20-10036 (CSS). No order of joint administration has been requested or entered in
       these cases to date.
3
       A more detailed description of the Debtors’ business and the facts and circumstances leading to the Chapter
       11 Cases is set forth in the Declaration of Kyle McLaughlin in Support of Chapter 11 Trustee’s Motion for
       Entry of an Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement by and
       Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All
       of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (III) Approving
       the Assumption and Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid
       Protections, and (V) Granting Related Relief (the “McLaughlin Declaration”), dated February 7, 2020,
       attached hereto as Exhibit C and incorporated herein by reference.


                                                       3
              Case 20-10036-CSS         Doc 30       Filed 02/07/20   Page 4 of 24




               7.     Tough Mudder develops and hosts, either directly or through its

subsidiaries, endurance event series in which participants compete in various obstacle course

races around the world. Id. ¶ 11. Tough Mudder primarily generates revenue through ticket

sales and advertising. Id. Over the last two years, approximately 700,000 people participated in

over 170 events around the world hosted by the TM Group. Id.

               8.     Prior to the Petition Date, in the latter half of 2019, Tough Mudder’s board

of directors and management team (“Management”) identified that Tough Mudder was

financially distressed and needed to restructure its debt obligations, which it could no longer

service in the ordinary course with the cash flow generated from the business.          Id. ¶ 12.

Management sought to refinance, recapitalize, or otherwise sell Tough Mudder on an expedited

basis in an effort to preserve Tough Mudder’s business and restructure its debt. Id. Management

believed that if a transaction to save the Tough Mudder’s business as a going concern was not

executed by the end of 2019, Tough Mudder, and TM Group as a whole, might have to cease

operations, to the detriment of stakeholders generally. Id.

               9.     Tough Mudder retained Imperial Capital, LLC (“Imperial”), an investment

bank headquartered in Los Angeles, California, to assist in running a sale and investor

solicitation process (the “SISP”) whereby offers were solicited for the sale of the TM Group and,

concurrently, strategic investors were sought to provide Tough Mudder with sufficient liquidity

to continue as a going concern and realize its long-term business goals. Id. ¶ 13.

               10.    As a result of the SISP, the Buyer expressed interest in acquiring all or

substantially all of the assets of the TM Group. Id. ¶ 14. Tough Mudder identified the Buyer, a

sophisticated party and a competitor operating within the same industry, as its preferred

purchaser and, with the approval of Management and after extensive arm’s-length negotiations,



                                                 4
              Case 20-10036-CSS          Doc 30       Filed 02/07/20   Page 5 of 24




entered into a letter of intent (the “LOI”) with the Buyer on November 29, 2019. Id. The LOI

outlined terms for a potential sale transaction whereby the Buyer would acquire all or

substantially all of the TM Group’s assets and assume certain of the TM Group’s liabilities with

a view toward continuing to operate Tough Mudder’s business as a going concern (the “Proposed

Prepetition Transaction”). Id.

               11.    Believing the Proposed Prepetition Transaction to be in the best interests

of the TM Group and its stakeholders generally, Management sought to finalize a definitive

agreement with the Buyer.        Id. ¶ 15.   Apparently, however, Will Dean (“Dean”), Tough

Mudder’s co-founder, director, and majority shareholder, and Guy Livingstone (“Livingstone”),

Tough Mudder’s other co-founder and another major shareholder, sought multi-million dollar

payments from the Debtors’ ticket sales platform, Active Networks LLC, for their equity

position in Tough Mudder in connection with the Proposed Prepetition Transaction. Id. The

Debtors, Dean, and Livingstone could not reach an agreement with regard to the payments, and

the Proposed Prepetition Transaction did not take place. Id.

               12.    In the wake of the Proposed Prepetition Transaction not going forward, the

Buyer sought to acquire all or substantially all of the assets of certain Tough Mudder subsidiaries

through an alternative transaction. Id. ¶ 16. On December 23, 2019, Spartan Race Holdings,

Inc. (“Spartan Race”), an affiliate of the Buyer, entered into an agreement (the “Call Option

Deed”) with Tough Mudder Events Ltd., Tough Mudder Ltd. and Tough Mudder GmbH

(together, the “TM Subsidiaries”), wherein Spartan Race acquired the option to purchase all or

substantially all of the TM Subsidiaries’ assets, subject to the terms and conditions of the

underlying Business Transfer Agreements (appended to the Call Option Deed) in respect of each

TM Subsidiary. Id. The transactions contemplated by the Call Option Deed were intended to be



                                                  5
               Case 20-10036-CSS              Doc 30        Filed 02/07/20       Page 6 of 24




consummated in Canada and the United Kingdom through certain administrative proceedings.

Id. But shortly after the execution of the Call Option Deed, Dean appointed himself sole director

of Tough Mudder Ltd. and all further action contemplated by the Call Option Deed stalled. Id.

                13.      In the wake of the failed Proposed Prepetition Transaction and Call Option

Deed, the TM Group was at a global standstill. Id. ¶ 17. The TM Group ceased operating and

selling tickets in the midst of a severe liquidity crisis. Id. The TM Group could no longer afford

to pay its employees. Id. As a result, on December 20, 2019, all activity in the Debtors’

headquarters effectively ceased.           Id.    Subsequently, the Petitioning Creditors filed the

involuntary petitions commencing these Chapter 11 Cases.

       C.       The Sale Agreement

                14.      At or about the time of the Appointment Date, the Trustee received a term

sheet (the “Term Sheet”) from the Buyer proposing the Sale, by which the Buyer would acquire

certain of the Debtors’ assets through a section 363 sale in the Chapter 11 Cases.

                15.      Following good faith, arm’s-length negotiations, the Trustee reached

agreement with the Buyer for the Sale of certain of the Debtors’ assets under section 363 of the

Bankruptcy Code on the terms and conditions set forth in the Sale Agreement. The Sale Order

will also authorize the Trustee to pay the Buyer a break-up fee (the “Break-Up Fee”) of

$20,000.00 and reimbursement of its reasonable and documented out-of-pocket expenses and

disbursements not to exceed $50,000.00 (the “Expense Reimbursement,” and, together with the

Break-Up Fee, the “Bid Protections”) payable only if an Alternative Transaction closes.4


4
       Pursuant to the terms of the Sale Agreement, an “Alternative Transaction” is defined as a transaction or
       series of related transactions pursuant to which Seller accepts a bid for all or a material portion of the
       Acquired Assets or any group of assets that includes all or a material portion of the Acquired Assets, from a
       Person other than Buyer or any Affiliate of Buyer (or a group or joint venture that includes Buyer or any
       Affiliate of Buyer), as the highest or otherwise best offer, in accordance with the Sale Motion. Sale
       Agreement § 1.1.8. In addition, the Sale Agreement provides:


                                                        6
               Case 20-10036-CSS             Doc 30        Filed 02/07/20        Page 7 of 24




                16.     In accordance with Local Rule 6004-1(b)(iv), key terms of the Sale and

the Sale Agreement are as follows:5

                A.      Purchase Price. The Purchase Price shall consist of $700,000 cash at
                        closing, plus the value of the Assumed Liabilities (estimated to be
                        approximately $7.5–$10 million).

                B.      Acquired Assets. The Buyer will acquire all of the Debtors’ right, title
                        and interest in the Acquired Assets free and clear of all liens, claims and
                        encumbrances (other than the Assumed Liabilities).

                C.      Assumed Liabilities. The Buyer will assume the Assumed Liabilities,
                        which include (i) Seller’s obligations to natural persons holding event
                        registrations associated with an Assumed Event, (ii) for each of the
                        Excluded Events, Buyer will exchange any natural person’s event
                        registration for two comparable Buyer event registrations to occur on or
                        before December 31, 2021, (iii) for every 2020 Tough Mudder Season
                        Pass held by a natural person, Buyer will exchange their 2020 Tough
                        Mudder Season Pass for two consecutive years (i.e., 2020-2021) of a
                        comparable Buyer season pass, (iv) all Liabilities of Seller under each
                        Assumed Contract, in each case, arising after the Closing (v) all Cure
                        Claims, (vi) all Liabilities arising out of Buyer’s use of the Acquired
                        Assets by Buyer after the Closing to the extent such Liabilities arise solely
                        out of any matter, occurrence, action, omission or circumstance that first
                        occurred or existed after the Closing.

                D.      Excluded Assets. Excluded Assets include, other than to the extent of
                        Acquired Assets, all claims, cross claims, and causes of action of Seller or
                        the Debtor, including without limitation arising under Sections 542
                        through 553 of the Bankruptcy Code and against current or former
                        directors and officers of the Debtor.



                          In the event that this Agreement is terminated pursuant to Section 6.1.6 or if
                Seller otherwise closes an Alternative Transaction within two (2) months from the
                Effective Date, Seller, on behalf of the Debtor, shall pay to Buyer a cash amount equal to
                $20,000.00 (the “Break-Up Fee”), and the Expense Reimbursement in cash. The
                Expense Reimbursement and Break-Up Fee will be due and payable upon the closing of
                an agreement providing for an Alternative Transaction. Notwithstanding anything herein
                to the contrary, the Buyer acknowledges and agrees that the Seller will not have and has
                no liability with respect to the payment of the Expense Reimbursement and the Break-Up
                Fee and that such obligations are the obligations of the Debtor only.

       Id. § 10.2.3.
5
       The descriptions which follow are intended for summary purposes only and, in the event of any
       inconsistency between these summaries and the Sale Agreement, the Sale Agreement shall govern in all
       respects.

                                                       7
Case 20-10036-CSS       Doc 30       Filed 02/07/20   Page 8 of 24




E.    No Sale to an Insider. The Buyer is not an insider of the Debtors within
      the meaning set forth in section 101(31) of the Bankruptcy Code.

F.    No Agreements with Management. No agreements with management
      have been entered into in connection with the Sale.

G.    No Releases. The Sale will not include releases of any party.

H.    Private Sale/No Competitive Bidding. The Trustee seeks to proceed
      without bid procedures or a scheduled auction. However, the Sale and
      Sale Agreement remain subject to higher or otherwise better offers.
      Furthermore, the Trustee shall have no obligation to perform the
      obligations under the Sale Agreement if in the exercise of his fiduciary
      duties Trustee determines that performance is not in the best interests of
      the Debtors or their estates.

I.    Closing and Other Deadlines. The Sale Agreement requires closing no
      later than February 28, 2020. The Sale Agreement also requires the filing
      of this Motion no later than February 7, 2020, seeking entry of a Sale
      Order, in a form acceptable to the Buyer.

J.    Good Faith Deposit. $250,000, to be credited against the cash Purchase
      Price at closing, which shall be nonrefundable unless the Sale Agreement
      is terminated as a result of a termination under Sections 6.1.1, 6.1.2, 6.1.3,
      6.1.5, or 6.1.6 (each a “Refund Event”).

K.    Interim Arrangements with Proposed Buyer. The Buyer will consult with
      the Seller on the terms of any press release concerning the Sale Agreement
      and Acquired Assets. The Buyer may then issue one or more press
      releases upon the prior approval of Seller, which shall not be unreasonably
      withheld, announcing the existence of this Agreement and intent to hold
      Assumed Events, subject to entry of the Sale Order and Closing. The
      Parties agree to work in good faith to return the Debtors’ website and
      internet presence to functionality at the expense of Buyer pursuant to
      Section 3.1.2 to make a portion of the Deposit non-refundable. The Seller
      may, but has no obligation to, resume selling Tough Mudder event
      registrations through the Debtors’ event registration platform with Active
      for each of the Assumed Events. Any sales made after the Filing Date
      shall be deemed a US Ticket Sales and the proceeds delivered to the US
      Ticket Buyer Escrow. The Seller reserves the right to condition any
      resumption of ticket sales on obtaining a satisfactory indemnity from the
      Buyer; provided, however, that any third party buyer under an Alternative
      Transaction must provide a replacement indemnification that is
      substantively identical to any indemnity provided by Buyer, and thereafter
      Buyer’s indemnification would be void and have no force or effect.




                                 8
              Case 20-10036-CSS         Doc 30       Filed 02/07/20   Page 9 of 24




               L.     Use of Sale Proceeds. The proceeds of the Sale shall be deposited in the
                      Debtors’ bank account controlled by the Trustee and applied in accordance
                      with the Bankruptcy Code or pursuant to further order(s) of the Court.

               M.     Tax Exemption. The terms of the Sale do not address the use of tax
                      exemptions.

               N.     Record Retention. The Trustee will retain or otherwise maintain the right
                      to access all necessary records for Debtors’ reporting and tax obligations.

               O.     Sale of Avoidance Actions. The terms of the Sale do not involve the sale
                      of avoidance actions.

               P.     Requested Findings as to Successor Liability. The proposed Sale Order
                      includes findings of fact and a ruling that the Sale will not subject the
                      Buyer to any liability whatsoever, including any successor liability, with
                      respect to the Acquired Assets except as provided in the Sale Agreement.
                      See Sale Order ¶¶ L, 10.

               Q.     Sale Free and Clear of Liens, Claims, Encumbrances and Other Interests.
                      The Trustee is requesting authority to transfer good title in the Debtors’
                      interest in the Acquired Assets free and clear of all liens, other than the
                      Assumed Liabilities, to the fullest extent permissible under section 363(f)
                      of the Bankruptcy Code. See Sale Order ¶ 2.

               R.     Credit Bid. Credit bidding is inapplicable.

               S.     Assumption and Assignment of Certain Contracts; Cure Amounts. The
                      Sale Agreement provides for the assumption and assignment of certain
                      contracts identified on Exhibit D to this Motion. The proposed cure
                      amount for each such contract is also identified on Exhibit D.

               T.     Relief from Bankruptcy Rule 6004(h). The Trustee is requesting relief
                      from the fourteen-day stay imposed by Bankruptcy Rule 6004(h). See
                      Sale Order 11.

       D.      Time is of the Essence

               17.    Although the Trustee has only been appointed for a short time, it is

apparent that the Debtors’ business has materially deteriorated in value as a result of the events

described above, and is at substantial and imminent risk of continued decline in value. For

example, the Debtors have ceased operating, and are thus not meeting their commitments to

customers who registered for races. McLaughlin Dec. ¶ 20. As a result, the Debtors’ goodwill


                                                 9
             Case 20-10036-CSS         Doc 30    Filed 02/07/20     Page 10 of 24




and intellectual property that embodies that goodwill—which collectively represent a substantial

portion of the Debtors’ value—is significantly impaired, and is at risk of further impairment the

longer the Debtors continue in this state. Id. The Debtors’ future ability to retain or recruit

corporate sponsors, a key component of revenue, is also likely severely impaired. Id.

              18.     Additionally, the events that form the core of the Debtors’ business require

many months of preplanning and commitments from third party sites, sponsors, vendors, and

other parties, as well as extensive marketing to obtain advance customer registrations. Id. ¶ 21.

A central component of the value of the Sale is the ability to maintain scheduled events. Id. But

with each day and week that passes with the Debtors not operating, the ability to maintain

scheduled events diminishes. Id. Indeed, as of the filing of this Motion, as a result of the

Debtors ceasing operations, the events scheduled for the first two quarters of 2020 and others

after that may no longer be salvageable and may need to be canceled. Id. ¶ 21. Unless the Sale

is approved and closes on the timeframe required by the Sale Agreement, the same fate will

befall the remaining 2020 events. This would represent a significant further deterioration in

value to the Buyer or any purchaser. Therefore, the Trustee believes that consummating the Sale

of the Debtors’ business as soon as possible is necessary to preserve and maximize value.

Additionally, for the foregoing reasons, the Buyer requires that the Sale close no later than

February 28, 2020.

              19.     Furthermore, given the declining value of the Debtors’ assets and the

limited funds available, the Debtors’ estates cannot afford to pursue a lengthy sale process.

Accordingly, the Trustee proposes to proceed without bid procedures or a scheduled auction.

Importantly, however, the Sale remains subject to higher or otherwise better offers, and the Sale

Agreement contains a “fiduciary out” for the Trustee. Moreover, as described above and in the



                                                10
              Case 20-10036-CSS              Doc 30       Filed 02/07/20         Page 11 of 24




McLaughlin Declaration, the Debtors’ business and assets have been subjected to an extensive

marketing process, and the only party that made an offer for the Debtors’ business or assets was

an affiliate of the Buyer. Given these factors, the Trustee believes in an exercise of his business

judgment that pursuing a private sale on the timeframe required by the Sale Agreement is in the

best interests of the Debtors’ estates under the circumstances.6

                                         RELIEF REQUESTED

                20.      By this Motion, the Trustee seeks entry of the Sale Order substantially in

the form attached hereto as Exhibit A: (i) authorizing and approving the Trustee’s entry into and

performance under the Sale Agreement; (ii) authorizing and approving the Sale of the Acquired

Assets to the Buyer, free and clear of all Encumbrances; (iii) approving the assumption and

assignment of certain contracts to the Buyer in connection with the Sale and related procedures;

(iv) approving the Bid Protections; and (v) granting related relief.7

                                  BASIS FOR RELIEF REQUESTED

       A.       The Sale Reflects a Sound Exercise of the Trustee’s Business Judgment.

                21.      Section 363(b)(1) of the Bankruptcy Code provides that “[t]he trustee,

after notice and a hearing, may use, sell or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b)(1) (2018). Section 105(a) of the Bankruptcy Code

provides: “[t]he Court may issue any order, process, or judgment that is necessary or appropriate

to carry out the provisions of this title.” Id. § 105(a). In pertinent part, Bankruptcy Rule 6004


6
       Since the Appointment Date, an entity backed by a former insider of the Debtors has expressed interest in
       the Debtors’ assets. A copy of this Motion will be served on this entity as well as any other entities known
       to the Trustee to have expressed interest in purchasing the Debtors or their business or assets. As described
       herein, the Trustee may consider higher or otherwise better offers should this entity or any other entity
       make such an offer.
7
       For the avoidance of doubt, to the extent the Trustee receives and accepts a higher or otherwise better offer,
       this Motion shall constitute a request for approval of a sale pursuant to such offer.


                                                       11
             Case 20-10036-CSS          Doc 30     Filed 02/07/20     Page 12 of 24




states that “[a]ll sales not in the ordinary course of business may be by private sale or by public

auction.” Fed. R. Bankr. P. 6004(f)(1).

               22.     Although section 363 of the Bankruptcy Code does not specify a standard

for determining when it is appropriate for a court to authorize the use, sale, or lease of property

of the estate, bankruptcy courts routinely authorize sales of a debtor’s assets if such sale is based

upon the sound business judgment of the debtor. See, e.g., Meyers v. Martin (In re Martin), 91

F.3d 389, 395 (3d Cir. 1996); In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D.

Del. 1999); In re Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991); In re Trans

World Airlines, Inc., No. 01-00056, 2001 Bankr. LEXIS 980, at *29 (Bankr. D. Del. Apr. 2,

2001); In re Phoenix Steel Corp., 82 B.R. 334, 335-36 (Bankr. D. Del. 1987) (stating that judicial

approval of a section 363 sale requires a showing that the proposed sale is fair and equitable, a

good business reason exists for completing the sale, and the transaction is in good faith).

               23.     The Sale is a sound exercise of the Trustee’s business judgment. With no

other viable offers for the Acquired Assets, the Debtors’ estates are left with assets rapidly losing

value with significant risk of offering no return to the Debtors’ estates. The Buyer has put forth

the most favorable offer for these assets. After due consideration of the terms of the offer, the

Trustee concluded that the Sale Agreement provides the best value for the Acquired Assets that

are otherwise at risk of losing significant, if not all, value. The resulting Sale is the product of

arm’s-length negotiations between the Parties that includes fair and reasonable consideration

under the circumstances. In light of the foregoing, the Trustee believes that the Sale should be

approved as a sound exercise of the Trustee’s business judgment.




                                                 12
             Case 20-10036-CSS             Doc 30       Filed 02/07/20       Page 13 of 24




       B.      The Trustee May Sell the Assets Free and Clear of Liens, Claims,
               Encumbrances, and Other Interests.

               24.      In accordance with section 363(f) of the Bankruptcy Code, a trustee may

sell property under section 363(b) “free and clear of any interest in such property of an entity

other than the estate” if any one of the following conditions is satisfied: (1) such a sale is

permitted under applicable nonbankruptcy law; (2) the party asserting such a lien, claim, or

interest consents to such sale; (3) the interest is a lien and the purchase price for the property is

greater than the aggregate amount of all liens on the property; (4) the interest is the subject of a

bona fide dispute; or (5) the party asserting the lien, claim, or interest could be compelled, in a

legal or equitable proceeding, to accept a money satisfaction for such interest. 11 U.S.C.

§ 363(f) (2018).

               25.      The Trustee believes the Sale meets one or more of the foregoing

conditions with respect to any entity that may assert an interest in the Acquired Assets. As an

initial matter, the Trustee is not aware of any party asserting a lien or other interest in the

Acquired Assets.8 Nonetheless, all creditors and other parties in interest known to the Trustee

will be served with a copy of the Motion and will have the opportunity to object and be heard,

including with respect to any asserted lien or other interest in the Acquired Assets. To the extent

any entity believes it holds a lien or other interest in the Acquired Assets and does not object to

the Motion, or whose objections are otherwise resolved, such entity will be deemed to have

consented to the relief sought in the Motion pursuant to section 363(f)(2). Moreover, to the

extent any such lien or interest is valid and the holder does not consent, the Trustee believes that

the holder of such lien or interest could be compelled to accept a money satisfaction of such


8
       The Trustee has conducted a UCC search with the Secretary of State of Delaware to determine if any liens
       have been filed against the assets of the Debtors, and no such liens exist.


                                                     13
              Case 20-10036-CSS          Doc 30     Filed 02/07/20      Page 14 of 24




interest, or the Trustee will otherwise be able to satisfy the requirements of section 363(f).

Furthermore, bankruptcy courts have recognized the equitable power to authorize sales free and

clear of interests that are not specifically covered by section 363(f). See, e.g., In re Trans World

Airlines, Inc., 2001 WL 1820325, at *3, *6 (Bankr. D. Del. Mar. 27, 2001); Volvo White Truck

Corp. v. Chambersburg Beverage, Inc. (In re White Motor Credit Corp.), 75 B.R. 944, 948

(Bankr. N.D. Ohio 1987). Accordingly, the Trustee requests that the Sale be approved “free and

clear,” with any liens, claims, encumbrances, and interests to attach to the proceeds of the Sale

with the same validity, extent, and priority, and subject to the same rights and defenses, as

existed immediately prior to the Sale.

       C.      The Sale Has Been Proposed in Good Faith.

               26.     The Trustee additionally requests that the Court find that the Buyer is

entitled to the protections provided by section 363(m) of the Bankruptcy Code in connection

with the Sale. Section 363(m) of the Bankruptcy Code provides, in pertinent part:

               The reversal or modification on appeal of an authorization under
               subsection (b) . . . of this section of a sale . . . of property does not
               affect the validity of a sale . . . under such authorization to an
               entity that purchased . . . such property in good faith, whether or
               not such entity knew of the pendency of the appeal, unless such
               authorization and such sale . . . were stayed pending appeal.

11 U.S.C. § 363(m) (2018). Section 363(m) of the Bankruptcy Code thus protects the purchaser

of assets sold pursuant to section 363 from the risk that it will lose its interest in the purchased

assets if the order allowing the sale is reversed on appeal.

               27.     Although the Bankruptcy Code does not define “good faith purchaser,” the

Third Circuit, construing section 363(m) of the Bankruptcy Code, has stated that “the phrase

encompasses one who purchases in ‘good faith’ and for ‘value.’” In re Abbotts Dairies of Pa.

Inc., 788 F.2d 143, 147 (3d Cir. 1986). To constitute lack of good faith, a party’s conduct in


                                                  14
             Case 20-10036-CSS         Doc 30     Filed 02/07/20    Page 15 of 24




connection with the sale must usually amount to “fraud, collusion between the purchaser and

other bidders or the trustee or an attempt to take grossly unfair advantage of other bidders.” Id.

(citing In re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)); see also In re

Bedford Springs Hotel, Inc., 99 B.R. 302, 305 (Bankr. W.D. Pa. 1989); In re Perona Bros., Inc.,

186 B.R. 813, 839 (D.N.J. 1995). Due to the absence of a bright line test for good faith, the

determination is based on the facts of each case, concentrating on the “integrity of [an actor’s]

conduct during the sale proceedings.” In re Pisces Leasing Corp., 66 B.R. 671, 673 (E.D.N.Y.

1986) (quoting Rock Indus. Mach. Corp., 572 F.2d at 1198).

               28.      As required by section 363(m) of the Bankruptcy Code, the Trustee

believes that the Buyer has acted in good faith in negotiating the terms of the Sale. There is no

evidence of fraud or collusion. The Buyer is not an insider of the Debtors as that term is defined

in section 101(31) of the Bankruptcy Code, and, to the best of the Trustee’s knowledge, all

negotiations were conducted on an arm’s-length, good faith basis. Further, in light of the

prepetition marketing process, the lack of viable offers from other parties available now, and the

consideration being provided under the Sale Agreement (which includes assumption of

substantial liabilities), the Trustee believes that the Buyer is providing “value” within the

meaning of Abbotts Dairies.       Accordingly, under the circumstances, the Buyer should be

afforded the benefits and protections that section 363(m) of the Bankruptcy Code provides to a

good faith purchaser.

       D.      The Assumption and Assignment of Contracts, and Related Procedures
               Should be Approved.

               29.      The Trustee requests authority under section 365 of the Bankruptcy Code

to assume and assign the designated events and/or contracts associated with the Acquired Assets

(the “Assumed Events and Contracts”) to the Buyer. The Trustee further requests that the Sale


                                                15
              Case 20-10036-CSS         Doc 30      Filed 02/07/20   Page 16 of 24




Order provide that the assigned Assumed Events and Contracts will be transferred to, and remain

in full force and effect for the benefit of, the Buyer notwithstanding any provisions in such

assigned Assumed Events and Contracts, including those described in Bankruptcy Code sections

365(b)(2), (f)(1), and (f)(3), that prohibit such assignments.

               30.     Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a

trustee, “subject to the court’s approval, may assume or reject any executory contract or

unexpired lease of the debtor.” 11 U.S.C. § 365(a) (2018). Courts routinely approve motions to

assume, assume and assign, or reject executory contracts or unexpired leases upon a showing that

the decision to take such action will benefit the debtor’s estate and is an exercise of sound

business judgment. See, e.g., In re Fleming Co. Inc., 499 F.3d 300, 305 (3d Cir. 2007); Cinicola

v. Scharffeberger, 248 F.3d 110, 120 (3d Cir. 2001); L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In

re Rickel Home Ctrs., Inc.), 209 F.3d 291, 298 (3d Cir. 2000); In re Market Square Inn, Inc., 978

F.2d 116, 121 (3d Cir. 1992); Sharon Steel Nat’l Fuel Gas Distrib. Corp. (In re Sharon Steel

Corp.), 872 F.2d 36, 39–40 (3d Cir. 1989); In re NII Holdings, Inc., Case No. 14-12611 (SCC)

(Bankr. S.D.N.Y. Apr. 20, 2015); In re Delia’s, Inc., Case No. 14-23678 (RDD) (Bankr.

S.D.N.Y. Dec. 24, 2014); In re HQ Glob. Holdings, Inc., 290 B.R. 507, 511 (Bankr. D. Del.

2003). Any more exacting scrutiny would slow the administration of a debtor’s estate, increase

costs, interfere with the Bankruptcy Code’s provision for private control of administration of the

estate, and threaten the court’s ability to control a case impartially. See Richmond Leasing Co. v.

Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).

               31.     Here, the assumption and assignment of the Assumed Events and

Contracts related to the Acquired Assets is an integral component of the Sale, without which the

Sale would not be a viable option. Moreover, given that the Debtors have ceased operating and



                                                 16
              Case 20-10036-CSS         Doc 30      Filed 02/07/20      Page 17 of 24




have limited resources, the Trustee cannot otherwise perform under or assure performance under

the Assumed Events and Contracts. Therefore, without the Sale, the Trustee would be required

to reject such Events and Contracts. By assuming and the assigning the Assumed Events and

Contracts, the Trustee will maximize the value of the Debtors’ estates while avoiding rejection

damages claims that would arise from the rejection of the Assumed Events and Contracts. The

Trustee therefore submits that the assumption and assignment of the Assumed Events and

Contracts pursuant to the Assignment and Assumption Agreement9 is an appropriate exercise of

the Trustee’s business judgment and should be approved by the Court.

               32.    Section 365(b)(1) of the Bankruptcy Code requires that, for a trustee to

assume an executory contract, it must “cure, or provide adequate assurance that the debtor will

promptly cure,” any default which is required to be cured, including compensating or providing

adequate assurance of prompt compensation for any “actual pecuniary loss” relating to such

default.   11 U.S.C. § 365(b)(1) (2018).        The meaning of “adequate assurance of future

performance” depends on the facts and circumstances of each case, but should be given

“practical, pragmatic construction.” EBG Midtown South Corp. v. McLaren/Hart Env. Eng’g

Corp. (In re Sanshoe Worldwide), 139 B.R. 585, 593 (S.D.N.Y. 1992); see also In re Fleming

Co. Inc., 499 F.3d 300, 305 (3d Cir. 2007); Cinicola v. Scharffeberger, 248 F.3d 110, 120 (3d

Cir. 2001).

               33.    The Trustee’s proposed procedures are appropriate and reasonably tailored

to provide counterparties to the Assumed Events and Contracts (each, a “Non-Debtor

Counterparty” and, collectively, the “Non-Debtor Counterparties”) with adequate notice of the

proposed assumption and assignment of the Assumed Events and Contracts, as well as proposed

9
       The Assignment and Assumption Agreement is attached as Exhibit B to the Sale Agreement, attached
       hereto at Exhibit B.


                                                 17
             Case 20-10036-CSS         Doc 30     Filed 02/07/20     Page 18 of 24




cure amounts (the “Cure Amount(s)”), if any. All Non-Debtor Counterparties who receive

notice of the Sale Motion will be given a reasonable opportunity to object to the assumption and

assignment of the Assumed Events and Contracts or the proposed Cure Amount(s), if any (the

“Objection Deadline”). If no objection is filed with regard to a particular Cure Amount by the

Objection Deadline, such Cure Amount shall be binding on the Trustee, the Buyer, and the

applicable Non-Debtor Counterparty. The payment of the Cure Amount(s) specified in the

Assumption and Assignment Notice (or a different amount, either agreed to by the Trustee or

resolved by this Court as a result of a timely-filed objection by the relevant Non-Debtor

Counterparty) will be in full and final satisfaction of all obligations to cure defaults and

compensate the Non-Debtor Counterparties for any pecuniary losses under the applicable

Assumed Events and Contracts pursuant to Bankruptcy Code section 365(b)(1), unless the

Trustee determines, before the hearing regarding assumption and assignment of such Assumed

Events and Contracts, that such Assumed Event or Contract is not truly executory, and does not

need to be cured to transfer the Acquired Assets to the Buyer. If an objection is filed with regard

to a particular Cure Amount by the Objection Deadline, it will be heard by the Court at the Sale

Hearing or at another date established by the Court at the request of the Trustee and the Buyer.

               34.    In addition, to the extent that any additional events or contracts are added

as Assumed Events and Contracts, the Trustee will file and serve a Supplemental Notice of

Assumption and Assignment of Certain Events and Executory Contracts and Proposed Cure

Amounts (the “Supplemental Assumption and Assignment Notice”) on the applicable Non-

Debtor Counterparties. The Supplemental Assumption and Assignment Notice will give Non-

Debtor Counterparties a reasonable opportunity to object to the assumption and assignment of

the Assumed Events and Contracts or the proposed Cure Amount(s), if any, at least 10 days from



                                                18
             Case 20-10036-CSS          Doc 30     Filed 02/07/20     Page 19 of 24




service of the Supplemental Assumption and Assignment Notice (the “Supplemental Objection

Deadline”). If no objection is filed with regard to a particular Cure Amount by the Supplemental

Objection Deadline, such Cure Amount shall be binding on the Trustee, the Buyer, and the

applicable Non-Debtor Counterparty. The payment of the Cure Amount(s) specified in the Cure

Notice (or a different amount, either agreed to by the Trustee or resolved by this Court as a result

of a timely-filed objection by the relevant Non-Debtor Counterparty) will be in full and final

satisfaction of all obligations to cure defaults and compensate the Non-Debtor Counterparties for

any pecuniary losses under the applicable Assumed Events and Contracts pursuant to Bankruptcy

Code section 365(b)(1), unless the Trustee determines, before the hearing regarding assumption

and assignment of such Assumed Events and Contracts, that such Assumed Event or Contract is

not truly executory, and does not need to be cured to transfer the Acquired Assets to the Buyer.

If an objection is filed with regard to a particular Cure Amount by the Objection Deadline, it will

be heard by the Court at the Sale Hearing or at another date established by the Court at the

request of the Trustee and the Buyer.

               35.     The Trustee submits that the foregoing procedures are appropriate under

the facts and circumstances of the Chapter 11 Cases and the proposed Sale.

               36.     Bankruptcy Code section 365(f)(2)(B) states that a trustee may assign

unexpired leases and executory contracts if, inter alia, the assignee provides “adequate assurance

of future performance.” 11 U.S.C. § 365(f)(2)(B)(2018). The Buyer is financially able and

prepared to undertake all of the relevant obligations under the Assumed Events and Contracts. If

necessary, the Trustee and the Buyer will submit, among other things, evidence of the Buyer’s

ability to provide adequate assurance of future performance under the Assumed Events and

Contracts at the hearing regarding assumption and assignment of such Assumed Events and



                                                 19
              Case 20-10036-CSS              Doc 30       Filed 02/07/20        Page 20 of 24




Contracts. Consequently, assumption and assignment of the Assumed Events and Contracts in

connection with the Sale is appropriate under the circumstances.

                37.       In addition, to facilitate the assumption and assignment of Assumed

Events and Contracts, the Trustee further requests that the Court find all anti-assignment

provisions therein, whether such provisions expressly prohibit or have the effect of restricting or

limiting assignment of the Assumed Events and Contracts, to be unenforceable and prohibited

pursuant to section 365(f) of the Bankruptcy Code.10

       E.       Approval of the Bid Protections Is Necessary.

                38.       This Court has acknowledged that a break-up fee is appropriate where it

“is an essential inducement and condition of Buyer’s entry into, and continuing obligations,

under the APA.” In re WorldSpace, Inc., Case No. 08-12412 (PJW), 2010 WL 4739929, at *4

(Bankr. D. Del. June 2, 2010). Based on the Debtors’ prepetition marketing of the Acquired

Assets, where the Debtors were only able to secure a single potential buyer, having the Buyer be

granted the Bid Protections is necessary to set a baseline bid for the Acquired Assets and induce

the Buyer’s entry into the Sale Agreement. See In re Katy Indus., Inc., No. 17-11101 (KJC)

(Bankr. D. Del. June 19, 2017) (finding that a stalking horse purchaser provides a material




10
       Section 365(f)(1) provides, in part, that “notwithstanding a provision in an executory contract or unexpired
       lease of the debtor, or in applicable law, that prohibits, restricts, or conditions the assignment of such
       contract or lease, the trustee may assign such contract or lease.” 11 U.S.C. § 365(f)(1) (2018). Section
       365(f)(3) further provides:

                Notwithstanding a provision in an executory contract or unexpired lease . . . that
                terminates or modifies, or permits a party other than the debtor to terminate or modify,
                such contract or lease or a right or obligation under such contract or lease on account of
                an assignment of such contract or lease, such contract, lease, right, or obligation may not
                be terminated or modified under such provision because of the assumption or assignment
                of such contract or lease by the trustee.

       Id. § 365(f)(3).


                                                       20
                Case 20-10036-CSS         Doc 30     Filed 02/07/20      Page 21 of 24




benefit to the debtor by increasing the likelihood of an increase in sale price for the purchased

assets).

                 39.    In addition, the Bid Protections sought here are appropriate for a case of

this size because bid protections reasonably reflect “the risk, effort, and expenses of the

prospective purchaser.” Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In

re Integrated Res., Inc.), 147 B.R. 650, 662 (S.D.N.Y. 1992). The Debtors believe that the

current proposed Break-Up Fee and Expense Reimbursement are sufficient based on the risk,

effort, and expenses involved in this Sale, and the Bid Protections are within the range of other

break-up fees approved in this District. See, e.g., Hr’g Tr. 31:8–9, In re First Place Fin. Corp.,

No. 12-12961 (BLS) (Bankr. D. Del. Nov. 15, 2012) (“courts in this jurisdiction have gone . . .

up to five percent [of the purchase price]” for a break-up fee alone.); see also In re Sancilio

Pharma. Co., Case No. 18-11333 (CSS) (Bankr. D. Del. June 28, 2018) (approving total bid

protections of 9.667%—a 3% break-up fee and an expense reimbursement of up to $1,000,000

for a $15,000,000 stalking horse bid); In re Nirvanix, Inc., Case No. 13-12595 (BLS) (Bankr. D.

Del. Oct. 23, 2013) (approving total bid protections of 11%—comprising a $150,000 break-up

fee and $150,000 expense reimbursement for a $2,800,000 stalking horse bid). Therefore, the

Court should approve the Break-Up Fee and Expense Reimbursement as necessary to the Sale.

           F.    No Consumer Privacy Ombudsman is Required.

                 40.    Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that:

                 if the debtor in connection with offering a product or a service
                 discloses to an individual a policy prohibiting the transfer of
                 personally identifiable information about individuals to persons
                 that are not affiliated with the debtor and if such policy is in effect
                 on the date of the commencement of the case, then the trustee may
                 not sell or lease personally identifiable information to any person
                 unless—



                                                   21
              Case 20-10036-CSS              Doc 30      Filed 02/07/20        Page 22 of 24




                        (A) such sale or such lease is consistent with such policy;
                        or
                        (B) after appointment of a consumer privacy ombudsman in
                        accordance with section 332, and after notice and a hearing,
                        the court approves such sale or such lease—
                                (i) giving due consideration to the facts,
                                circumstances, and conditions of such sale or such
                                lease; and
                                (ii) finding that no showing was made that such sale
                                or such lease would violate applicable
                                nonbankruptcy law.

11 U.S.C. § 363(b)(1). This requirement of section 363(b)(1) is a stepped test. If the debtor

either (1) does not have any policy regarding personally identifiable information (“PII”) that it

discloses to customers or (2) has and discloses a policy, but the policy does not prohibit the sale

or lease of PII, then the next steps of the test are not reached. Here, the Debtors disclosed a

policy on use of customer’s PII, but the policy does not “prohibit[] the transfer of personally

identifiable information.”11 For this reason, the relevant provisions of section 363(b)(1) are not

implicated, and, therefore, the appointment of a consumer privacy ombudsman is not required.

                          WAIVER OF BANKRUPTCY RULE 6004(H)

               41.      Under Bankruptcy Rule 6004(h), unless the court orders otherwise, all

orders authorizing the sale of property pursuant to section 363 of the Bankruptcy Code are

automatically stayed for fourteen days after entry of the order. Fed. R. Bankr. P. 6004(h). The

purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for an objecting party to appeal

before the order is implemented. See Advisory Committee Notes to Fed. R. Bankr. P. 6004(h).

Here, to maximize the value of the Debtors’ estates, it is important that closing occur on an

expedited basis, as soon as possible so that the Acquired Assets do not further lose value.




11
       A copy of the Debtors’ policy on PII is attached hereto as Exhibit E.


                                                      22
             Case 20-10036-CSS          Doc 30     Filed 02/07/20     Page 23 of 24




Accordingly, the Trustee hereby requests that the Court waive the fourteen-day stay period under

Bankruptcy Rule 6004(h).

                                             NOTICE

               42.     A copy of this Motion will be served via hand delivery, first-class mail,

and/or electronic mail, where available and as applicable, upon the following: (a) the Office of

the United States Trustee for the District of Delaware; (b) counsel to the Buyer; (c) counsel to

the Debtors; (d) any other parties asserting an interest (as that term is used in section 363(f) of

the Bankruptcy Code) in the Acquired Assets to the extent any such interest is reasonably known

to the Trustee; (e) local, state, and federal authorities and agencies that have regulatory authority

with respect to the Acquired Assets; (f) any party solicited, or that indicated an interest, in

connection with the prepetition marketing process, to the extent known to the Trustee; (g) all

creditors known to the Trustee; (h) any other party that has requested notice pursuant to Local

Rule 2002-1(b); and (i) any party to an executory contract with the Debtors known to the

Trustee. The Trustee respectfully submits that no further notice of this Motion is required under

the circumstances.

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                                                 23
             Case 20-10036-CSS         Doc 30    Filed 02/07/20     Page 24 of 24




       WHEREFORE, the Trustee respectfully requests the Court grant the relief requested in

this Motion and such other and further relief as the Court may deem just and proper.

Dated: February 7, 2020                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                             /s/ Matthew B. Harvey
                                             Curtis S. Miller (No. 4583)
                                             Matthew B. Harvey (No. 5186)
                                             Joseph C. Barsalona II (No. 6102)
                                             Matthew O. Talmo (No. 6333)
                                             Brett S. Turlington (No. 6705)
                                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                             1201 N. Market Street, 16th Floor
                                             P.O. Box 1347
                                             Wilmington, Delaware 19899-1347
                                             Telephone: (302) 658-9200
                                             Facsimile: (302) 658-3989
                                             Email: cmiller@mnat.com
                                                    mharvey@mnat.com
                                                    jbarsalona@mnat.com
                                                    mtalmo@mnat.com
                                                    bturlington@mnat.com

                                             Proposed Counsel for Derek C. Abbott, Esq., as
                                             Chapter 11 Trustee to Tough Mudder Inc. and
                                             Tough Mudder Event Production Incorporated




                                                24
